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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


 JANSSEN BIOTECH, INC.,

                          Plaintiff,

           v.                                       No. 1:17-cv-11008

 CELLTRION HEALTHCARE CO., LTD.,
 CELLTRION, INC., and
 HOSPIRA, INC.

                          Defendants.


    DEFENDANTS’ MOTION IN LIMINE NO. 7: TO PRECLUDE EVIDENCE AND
         ARGUMENT REGARDING HYPOTHETICAL NEGOTIATIONS
        BASED ON THE DATE OF ALLEGED INDUCED INFRINGEMENT

          Pursuant to Federal Rules of Evidence 401-403, Defendants Celltrion Healthcare Co., Ltd.,

Celltrion, Inc., and Hospira Inc. (collectively “Defendants”), hereby move this Court to exclude

evidence and argument that a hypothetical negotiation between Defendants and Janssen should be

based on the date of alleged induced infringement, rather than the date of alleged direct

infringement. Such argument should be excluded because it is directly contrary to Federal Circuit

law, rendering it irrelevant, misleading, confusing, and a waste of time.

          WHEREFORE, Defendants respectfully request this Court grant Defendants’ motion in

limine.

                                   REQUEST FOR ORAL ARGUMENT

          Defendants believe oral argument may assist the Court and therefore request oral argument

on the motion during the scheduled June 11, 2018 hearing. Dkt. 176.
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Dated: May 18, 2018                Respectfully submitted,

                                   Celltrion Healthcare Co., Ltd., Celltrion, Inc.,
                                   and Hospira, Inc.

                                   By their attorneys,

                                   /s/ Andrea L. Martin, Esq. ______________
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                                 LR 7.1(a)(2) CERTIFICATION

        I, Andrea L. Martin, hereby certify that Defendants’ counsel has conferred with Plaintiff’s

counsel and attempted in good faith to resolve or narrow the issue raised in this motion. No

agreement has been reached. Plaintiff has asserted that it will oppose this motion.

                                                  /s/ Andrea L. Martin, Esq.
                                                  Andrea L. Martin, Esq.


                                 CERTIFICATE OF SERVICE

        I, Andrea L. Martin, hereby certify that this document filed through the ECF system will

be sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF) and paper copies will be sent to those indicated as non-registered participants on May 4,

2018.


                                               /s/Andrea L. Martin, Esq.
                                               Andrea L. Martin, Esq.




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